                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION

                         CRIMINAL DOCKET NO. 5:04CR28-V


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                     ORDER
                                )                   FOR EXPERT FEES
                                )
LILLIAN LEANN GRUBB             )
________________________________)


      THIS MATTER is before the Court on Defendant's Motion For Psychological Expert

Additional Payment, filed 20 December 2005.          In his Motion, Defendant requests

authorization for additional funds for the evaluation that was conducted and filed with the

Court for sentencing purposes. The complexity of the clinical picture, as well as the

Defendant’s availability, necessitated more than average time to complete the evaluation.

For the reasons stated in Defendant’s Motion, the Court finds that the requested services

are necessary and that Defendant is indigent and financially unable to obtain such

services. 18 U.S.C. §3006A(e)(1).

      IT IS, THEREFORE, ORDERED that the Defendant's Motion For Psychological

Expert Additional Payment is GRANTED.

      IT IS, FURTHER ORDERED that SCN Psychological & Consulting Services, LLC

shall be compensated in an additional amount, up to $3,451.45, exclusive of expenses

reasonably incurred, subject to determination of reasonableness. The Clerk is directed to

send copies of this Order to defense counsel, and the attorney for the United States.




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                    Signed: January 17, 2006




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